




NO. 07-01-0293-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MARCH 6, 2002



______________________________





AMILEE WENDT, APPELLANT



V.



THE LAMAR COUNCIL OF CO-OWNERS,

TRULY NOLEN OF AMERICA, INC., INDIVIDUALLY AND D/B/A

TRULY NOLEN EXTERMINATING, INC. AND ALICE LOSSEN, APPELLEES





_________________________________



FROM THE 269TH DISTRICT COURT OF HARRIS COUNTY;



NO. 96-59117; HONORABLE JOHN WOOLDRIDGE, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

Appellant Amilee Wendt perfected this appeal from a take nothing judgment on her negligence claims against appellees. &nbsp;Both the clerk’s record and reporter’s record have been filed. &nbsp;Appellant’s brief was due to be filed no later than December 6, 2001, but has yet to be filed. &nbsp;By letter dated February 8, 2002, this Court notified counsel of the defect and also directed counsel to show good cause for continuing this appeal within ten days. &nbsp;Counsel did not respond and the brief remains outstanding. &nbsp;

Accordingly, we dismiss the appeal for want of prosecution and failure to comply with an order of this Court. &nbsp;
See
 Tex. R. App. P. 38.8(a)(1) and 42.3(b) and (c).



Don H. Reavis

 &nbsp;&nbsp;&nbsp;	 &nbsp;&nbsp;&nbsp;Justice



Do not publish.


